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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                                                                                     RECEIVED
                                                                                         JUL 26 2010
UNITED STATES OF AMERICA,                    )
                                             )                                      CLERK U.S. DISTRICT COURT
                                                                                    SOUTHERN DISTRICT OFIOWA
                      Plaintiff,             )
                                             )
               vs.                           )       Case No. 3:09-cr-OOI20
                                             )
ALVIN LEE COOPER,                            )
                                             )
                      Defendant.             )


    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count(s)   \   ~ 4-     of the Superseding Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea(s) ~were knowing and voluntary as to each count, and that the

offense(s) charged'es/are supported by an independent factual basis concerning each ofthe essential

elements of such offense(s). I, therefore, recommend that the plea(s) of guilty be accepted, that a

pre-sentence investigation and report be prepared, and that the Defendant be adjudged guilty and

have sentence imposed accordingly.




Date
    ~ 2(" Q)Jr o
                                                  THOMAS J.             S
                                                  UNITED ST                 GISTRATE JUDGE


                                             NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(I)(B).
